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Owen Pickus, D.O., Esq. & Associates

Attorneys at Law

Lafayette Center, 2 Storer Street, Ste. 200-A, Kennebunk, ME 04043
Tel: 207-467-9146/Fax: 207-467-8289

July 1, 2020

William L. King, Jr., Sherriff

York County Jail
1 Layman Way
Alfred, Maine 04002
RE: Our client: Kyle Desmarais
Date of Birth: September 9, 19381
Dear Sheriff King:

Please be advised that we represent Kyle Desmarais relative to injuries that he sustained at the
York County Jail on or about June 15, 2020. Please accept this as a formal request that York
County Jail preserve and not alter or destroy any evidence in its possession relating to this incident.
This request to preserve includes, but is not limited to, recordings and surveillance footage of Mr.
Desmarais in the jail during the relevant time, photographs, emails, notes, written documents,
incident reports, and other electronically stored information relating to Mr. Desmarais and/or this

incident.

Thank you for your time and attention to this matter. Please contact our office should you have
any questions or concerns.

Sincerely,
ber L. Tucker
fat
Owen B. Pickus, D.O. Esq. Amber L. Tucker, Esq., Of Counsel
owenpickus@owenpickuslaw.com atucker@owenpickuslaw.com

owenpickuslaw.com
Case 2:21-cv-00341-LEW Document 1-1 Filed 12/02/21 Page12o0f12 PagelD#: 15

 

Owen Pickus, D.O., Esq. & Associates

Attorneys at Law

Lafayette Center, 2 Storer Street, Ste. 200-A, Kennebunk, ME 04043
Tel: 207-467-9146/Fax: 207-467-8289

July 1, 2020

William L. King, Jr., Sherriff
York County Jail

1 Layman Way

Alfred, Maine 04002

Re: Freedom of Access Act Request
Dear Sheriff King:

Please accept this as a request for public records, pursuant to Maine’s Freedom of Access Act, as
provided for in 1 M.R.S. § 408-A.

Specifically, please provide me with a copy of the contract presently in effect between York
County/York County Jail and the current medical service provider(s) for the jail. If your agency
does not maintain these public records, please advise us as to who does and include the proper
custodian’s name and address.

Should you require any prepayment for this request, please let me know. If you have any questions
regarding this request, please do not hesitate to contact me.

I look forward to hearing from you.

 

fat

cc: Gregory T. Zinser, County Manager for York County

Owen B. Pickus, D.O. Esq. Amber L. Tucker, Esq., Of Counsel
owenpickus@owenpickuslaw.com '  atucker@owenpickuslaw.com

owenpickuslaw.com
